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                                                              IN THE CIRCUIT COURT OF THE
                                                              SECOND JUDICIAL CIRCUIT, IN
                                                              AND FOR LEON COUNTY, FLORIDA
                                                                      2015 CA 000591
        KEN~ETH L. WESTLEY,                                   CASE NO. 15-CA-
                                                              FLA BAR NO. 0739685
               Plaintiff,

        vs.

        BOARD OF TRUSTEES, FLORIDA
        A & M UNIVERSITY, a public body
        corporate,

               Defendant.


                                                 COMPLAINT

               Plaintiff, KENNETH L. WESTLEY, hereby sues Defendant, BOARD OF TRUSTEES,

        FLORIDA A & M UNIVERSITY, a public body corporate, and alleges:

                                         NATURE OF THE ACTION

               l.     This is an action brought under Chapter 760, Florida St11tutes, 42 U.S.C. §2000e

        et seq. and 42 U.S.C. §198la.

               2.     TI1is is an action involving claims which are, individually, in excess of Fifteen

       TI10usand Dollars ($15,000.00), exclusive of costs and interest.

                                                THE PARTIES

               3.     At all times pertinent hereto, Plaintiff, KENNETH L. WESTLEY has been a

       resident of the State of Florida and was employed by Defendant. Plaintiff is a member of a

       protected class due to his race, black, his dark color and the fact that he reported discrimination

       adverse! y affecting him and was the victim of retaliation thereafter.

               4.     At all times pertinent hereto, Defendant, BOARD OF TRUSTEES, FLORJDA A

       & M UNIVERSITY, a public body corporate, has been organized and existing under the laws of
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the State of Florida. At all times pertinent to this action, Defendant has been an "employer" as

that term is used under the applicable laws identified above.

                                  CONDITIONS PRECEDE NT

        5.     Plaintiff has satisfied all conditions precedent to bringing this action in that

Plaintiff filed a charge of discrimination with the Florida Commission on Human Relations and

the EEOC. This action is timely brought thereafter.

                         STATEMENT OF THE ULTIMATE FACT S

       6.      Plaintiff, an African American dark skinned male, began his employment with

Defendant on or around October 17, 1999, as a Maintenance Support Worker in the HVAC shop.

       7.      On May '13, 2013, Plaintiff was assigned to perform Senior Mechanic Refrigerant

duties but neither his job classification nor his pay changed.

       8.      When a Senior Mechanic Refrigerant position came available, Plaintiff was

informed that he did not qualify because he did not have the proper certification although he had

worked in the HV AC shop for four years. Defendant hired a Caucasian male although he did not

have the experience or the certification.

       9.      Since Plaintiff has been with the Defendant, two Caucasian males were hired and

they are the two highest paid workers in the HVAC shop.

       10.     On January 21, 2014, Plaintiff wrote a letter to Kendall Jones, Director of the

Physical Plant, making him aware of the disparate treatment. No action was taken. P laintiff

should have been making the same income or more than the two white males.

       11.     Plaintiff filed a Charge of Discrimination with the Florida Commission on Human

Relations and the EEOC on June 9, 2014, alleging race/color discrimination. On July 16, 2014,

one week after Plaintiff filed his Charge of Discrimination, Director Kendall Jones and Assistant




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Director Clinton Smith retaliated against Plaintiff by issuing him an unwarranted written

reprimand. Plaintiff had never received a written reprimand or any other kind of reprimand prior

to his. FCHR/EEOC activity.       This action was taken against Plaintiff in direct retaliation for

Plaintiff engaging in protected activity. ·

        12.    Plaintiff is still employed by the Defendant and the violalions against Plaintiff are

ongoing and continuous.

        13.    Plaintiff has retained the undersigned to represent his interests in this cause and is

obligated to pay her a fee for her services. Defendant should be made to pay said fee under

§760.11, Florida Statutes, and 42 U.S.C. §2000e et seq ..

                                       COUNT I
                              RACE/COLOR DlSCRIMINATION

        14.    Paragraphs 1-13 are re-alleged and incorporated herein by reference.

       15.     This is an action against Defendant for discrimination based upon race and color

brought under Chapter 760, Florida Statutes and 42 U.S.C. §2000e et seq ..

       16.     Plaintiff has been the victim of discrimination on the basis of his race and color in

that he was treated differently than similarly situated white employees and fairer skinned black

employees of Defendant with respect to the terms and conditions of his employment with respect

to positions held and pay.

       17.     Defendant is liable for the differential treatment and hostility towards Plaintiff

because it controlled the actions and inactions of the persons making decisions affecting Plaintiff

or it knew or should have known of these actions and inactions and failed to take prompt and

adequate remedial action or took no action at all to prevent the abuses to Plaintiff.




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          18.    Furthermore, Defendant knowingly condoned and ratified the differential

treatment of Plaintiff as more fully set forth above because it allowed the differential treatment

and p~rticipated in same.

          19.    Defendant's known allowance and ratification of these actions and inactions

created, perpetuated and facilitated an abusive and offensive work environment within the

meaning of the statutes referenced above.

          20.    In essence, the actions of agents of Defendant, which were each condoned and

ratified by Ddendant, were of a race based nature and in violation of the laws set forth herein.

          21.    The discrimination complained of herein affected a term, condition, or privilege

of Plaintiffs continued 'e mployment with Defendant.

          22.    Defondant's conduct and omissions constitutes intentional discrimination and

unlawful etnployment practices based upon race in violation of Chapter 760, Florida Statutes,

and 42 U.S.C. §2000e et seq ..

          23 .   As a direct and proximate result of Defendant's conduct described above, Plaintiff

has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along

with lost back and front pay, interest on pay, bonuses, and other benefits. These damages have

occurred in the past, arc permanent and continuing. Plaintiff is entitled to injunctive/equitable

relief.

                                            COUNTil
                                         RETALIATION

          24.    Paragraphs 1-13 are hereby re-alleged and reincorporated as if set forth in full

herein.




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        25.     Defendant is an employer as that term is used under the applicable statutes

referenced above.

        26.'    The foregoing allegations establish a cause of action for unlawful retaliation after

Plaintiff reported unlawful employment practices adversely affecting him under 42 U.S.C §

2000e et seq., Title l of the Civil Rights Act of 1991, and Chapter 760, Florida Statutes.

        27.     The foregoing unlawful actions by Defendant were purposeful.

        28.    Plaintiff voiced opposition to unlawful employment practices during bis

employment with Defendant and was the victim of retaliation thereafter, as related in part above.

        29.    Plaintiff is a member of a protected class because he reported unlawful

employment practices and was the victim of retaliation thereafter.          There is thus a causal

connection between the reporting of th.e unlawful employment practices and the adverse

employment action taken thereafter.

       30.     As a direct and proximate result of the foregoing unlawful acts and omissions,

Plaintiff has suffered mental anguish, emotional distress, expense, loss of benefits,

embarrassment, humiliation, damage to reputation, illness, lost wages, loss of capacity for the

enjoyment of life, and other tangible and intangible damages. These damages are continuing and

are pennanent. Plaintiff is entitled to injunctive/equitable relief.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

               (a)     that process issue and this Court take jurisdiction over this case;

               (b)     that this Court grant equitable relief against Defendant under the

applicable counts set forth above, mandating Defendant;s obedience to the laws enumerated

herein and providing other equitable relief to Plaintiff;




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                 (c)   enter judgment against Defendant and for Plaintiff awarding damages to

 Plaintiff from Defendant for Defendant's violations of law emunerated herein;

                 (d)   enter judgment against Defendant and for Plaintiff permanently enjoining

Defendant from future violations of law enumerated herein;

                 (e)   enter judgment against Defendant and for Plaintiff awarding Plaintiff

attorney's fees and costs; and

                 (f)   grant such other further relief as being just and proper under the

circumstances.

                                 DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury on all issues set forth herein which are so triable.

       DATED this 11th day of March, 2015 .

                                                     Respectfully submitted,


                                                      Isl Marie A. Mattox
                                                      Marie A. Mattox
                                                      MARIE A MATTOX, P.A.
                                                      310 Easl Bradford Road
                                                      Tallahassee, FL 32303
                                                     (850) 383-4800 (telephone)
                                                     (850) 383-4801 (facsimile)
                                                     Marie@mattoxlaw.com
                                                     Michellc2@mattoxlaw.com
                                                     joshua@mattoxlaw .corn

                                                     ATTORNEYS FOR PLAINTIFF




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